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 1                                                              JUDGE RICHARD A. JONES
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 4
                                UNITED STATES DISTRICT COURT
 5
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7
     UNITED STATES OF AMERICA,                     )   No. CR16-336RAJ
 8                                                 )
                       Plaintiff,                  )
 9                                                 )   ORDER GRANTING STIPULATED
               v.                                  )   JOINT MOTION TO CONTINUE
10                                                 )   TRIAL AND PRETRIAL MOTIONS
     ANGEL GUTAMA-SANCHEZ,                         )   DATES
11   DIONICIO SANCHEZ-MISACANGO,                   )
     ZHONI SANCHEZ-MACAS, AND                      )
12   MANUEL SANCHEZ-GONZALEZ,                      )
                                                   )
13                     Defendants.                 )
                                                   )
14                                                 )
15
16          THE COURT has considered the Defendants’ joint motion to continue the trial

17   date and pretrial motions deadline, there being no opposition filed by the Government,

18   and finds that:

19          (a) taking into account the exercise of due diligence, a failure to grant a

20   continuance in this case would deny counsel for the defendants the reasonable time

21   necessary for effective preparation due to counsels’ need for more time to review the

22   evidence, consider possible defenses, and gather evidence material to the defense, as set

23   forth in 18 U.S.C. § 3161(h)(7)(B)(iv); and

24          (b) a failure to grant such a continuance in this proceeding would likely result in

25   a miscarriage of justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i); and

26


      ORDER TO CONTINUE TRIAL AND
      PRETRIAL MOTIONS DUE DATE - 1
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 1          (c) the additional time requested is a reasonable period of delay, as the
 2   defendants have requested more time to prepare for trial, to investigate the matter, to
 3   gather evidence material to the defense, and to consider possible defenses; and
 4          (d) the ends of justice will best be served by a continuance, and the ends of
 5   justice outweigh the best interests of the public and the defendants in any speedier trial,
 6   as set forth in 18 U.S.C. § 3161(h)(7)(A); and
 7          (e) the additional time requested between the current trial date of February 27,
 8   2017, and the new trial date is necessary to provide counsel for the defendants the
 9   reasonable time necessary to prepare for trial, considering counsels’ schedules and all
10   of the facts set forth above.
11          IT IS THEREFORE ORDERED that the Defendant’s Joint Motion to Continue
12   Trial Date and Pretrial Motions Deadline (Dkt. #53) is GRANTED. The trial date in
13   this matter shall be continued to July 31, 2017, and that all pretrial motions, including
14   motions in limine, shall be filed no later than June 1, 2017.
15          IT IS FURTHER ORDERED that the period of delay from the date of this order
16   to the new trial date of July 31, 2017, is excludable time pursuant to 18 U.S.C. §§
17   3161(h)(7)(A) and (h)(7)(B)(iv).
18
19          DATED this 15th day of February, 2017.
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21
                                                       A
                                                       The Honorable Richard A. Jones
22                                                     United States District Judge
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      ORDER TO CONTINUE TRIAL AND
      PRETRIAL MOTIONS DUE DATE - 2
